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                                               INFORMATION
        IN THE COURT OF COMMON             PLEAS OF LACKAWANNA              COUNTY, PENNSYLVANIA
                                            CRIMINAL DIVISION

                                       Criminal Action No.     10 CR 2613

                                 COMMONWEALTH            OF PENNSYLVANIA

                                                       VS.

                                            PHILIP GODLEWSKI


     The District Attorney of Lackawanna County, by this Information charges that Between Tuesday, the 1st
     day of January, 2008, and Wednesday, the 7th day of July, 2010 in said County of Lackawanna, Philip
     Godlewski did commit the crime or crimes herein,

     COUNT       I: CORRUPTION OF MINORS
                    (18 C.P.S.A. Sec. 6301(a-1);Grade: Misdemeanor 1;$10,000.00;5 years;
     unlawfully, being of the age of 18 years and upwards, corrupt or tend to corrupt the morals of any minor
     less than 18 years of age, or did aid, abet, entice or encourage any such minor in the commission of any
     crime, or did knowingly assist or encourage such minor in violating his or her parole or any order of
     court, to wit; the defendant did repeatedly have inappropriate text naessages and contact with a minor.
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             20 HoT 16
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     Pennsylvania.




of                                                                      Exhibit 3
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                                                                                                         0588
